        Case 1:17-cv-08457-JMF Document 78 Filed 03/22/18 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JIHAD A. HACHEM,

                        Plaintiff,

            v.                                     LEAD CASE: No. 17-CV-8457 (JMF)
                                                   Hon. Jesse M. Furman
GENERAL ELECTRIC COMPANY,
JEFFREY R. IMMELT, JEFFREY S.
BORNSTEIN, JOHN L. FLANNERY,                       NOTICE OF APPEARANCE
JAMIE MILLER, AND KEITH S. SHERIN,

                        Defendants.


         PLEASE TAKE NOTICE that the following attorney appears as counsel on behalf

  of Defendants Jamie Miller and Keith S. Sherin in the above-captioned action:

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Dated: March 22, 2018
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                                                    /s/ William J. Trach
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                                                   and Keith S. Sherin
